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 8                              UNITED STATES DISTRICT COURT

 9                            CENTRAL DISTRICT OF CALIFORNIA

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11    STEPHANIE W.,                                   Case No. CV 20-3524 VEB
12                          Plaintiff,                JUDGMENT
13           v.
14
      KILOLO KIJAKAZI, Acting Commissioner
15    of Social Security,

16
                            Defendant.
17

18          For the reasons set forth in the accompanying Decision and Order, it is hereby ADJUDGED
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     AND DECREED THAT (1) Plaintiff’s request for an order remanding the case for further
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     proceedings is DENIED; (2) the Commissioner’s request for an order affirming the
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     Commissioner’s final decision and dismissing the action is GRANTED; (3) judgment is entered in
22

23   the Commissioner’s favor; and (4) the Clerk of the Court shall CLOSE this case.

24          DATED this 18th day of October 2021,

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26                                                    /s/Victor E. Bianchini
27                                                    VICTOR E. BIANCHINI
                                                 UNITED STATES MAGISTRATE JUDGE
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